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13
                                UNITED STATES BANKRUPTCY COURT
14                              NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
15
      In re:                                     Case No. 19-30088
16
      PG&E CORPORATION,                          Chapter 11
17
               - and -                           (Lead Case)
18

19    PACIFIC GAS AND ELECTRIC                   (Jointly Administered)
      COMPANY,
20                         Debtors.              NOTICE OF HEARING ON THE MOTION OF
                                                 THE AD HOC GROUP OF SUBROGATION
21                                               CLAIM HOLDERS FOR RELIEF FROM THE
22                                               AUTOMATIC STAY
      ☐ Affects PG&E Corporation                 Date:     July 24, 2019
23
      ☐ Affects Pacific Gas and Electric         Time:     9:30 a.m. (Pacific Time)
24    Company                                    Place:    United States Bankruptcy Court
       Affects both Debtors                               Courtroom 17, 16th Floor
25                                                         San Francisco, CA 94102
      *All papers shall be filed in the lead
26    case, No. 19-30088 (DM)                    Objection Deadline: July 19, 2019 at 4:00 p.m.
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                                                     3
 1          PLEASE TAKE NOTICE that on July 24, 2019, at 9:30 a.m. (Pacific Time) at the United

 2    States Bankruptcy Court for the Northern District of California, located at 450 Golden Gate Avenue,
 3
      16th Floor, San Francisco, California in Courtroom 17 before the Honorable Dennis Montali, the Ad
 4
      Hoc Group of Subrogation Claim Holders (“Ad Hoc Subrogation Group”) will bring on for a
 5
      hearing its Motion for Relief from the Automatic Stay under Bankruptcy Code section 362(d) in
 6
      order to pursue claims of the Ad Hoc Subrogation Group’s members against PG&E Corporation and
 7

 8    Pacific Gas and Electric Company (hereinafter “PG&E” or the “Debtors”) regarding the issue of the

 9    Debtors’ liability for the Tubbs Fire in the California Superior Court, where the claims are currently
10    pending in a Coordination Proceeding, Case No. 4955 (the “Motion”).
11
            The Motion is based on this Notice of Hearing, the Motion, the Memorandum of Points and
12
      Authorities in Support of the Ad Hoc Group of Subrogation Claim Holders’ Motion for Relief from
13
      the Automatic Stay and points and authorities therein, the Declaration of Benjamin P. McCallen and
14

15    supporting exhibits, and such other and further evidence and matters that this Court may consider at

16    the hearing of the Motion.

17          PLEASE TAKE FURTHER NOTICE that any oppositions or responses to the Motion must
18    be in writing, filed with the Bankruptcy Court, and served on the counsel for the Ad Hoc Subrogation
19
      Group at the above-referenced addresses so as to be received by no later than 4:00 p.m. (Pacific
20
      Time) on July 19, 2019. Any oppositions or responses must be filed and served on all “Standard
21
      Parties” as defined in, and in accordance with, the Second Amended Order Implementing Certain
22

23    Notice and Case Management Procedures entered on May 14, 2019 (ECF No. 1996) (“Case

24    Management Order”).

25          PLEASE TAKE FURTHER NOTICE that as provided in Local Rule 4001-1(a), the Debtors
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      are advised to appear personally or by counsel at the hearing, and that failure to do so may result in
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                                                    3
 1    this Court granting the relief requested without further hearing, including granting relief from the

 2    automatic stay to allow the Ad Hoc Subrogation Group to pursue claims of the Ad Hoc Subrogation
 3
      Group’s members against the Debtors regarding the issue of the Debtors’ liability for the Tubbs Fire
 4
      in the California Superior Court, where the claims are currently pending in a Coordination
 5
      Proceeding, Case No. 4955.
 6

 7

 8          Dated: July 3, 2019

 9
                                         WILLKIE FARR & GALLAGHER LLP
10

11
                                         /s/ Benjamin P. McCallen
12                                       Matthew A. Feldman (pro hac vice)
                                         Joseph G. Minias (pro hac vice)
13                                       Benjamin P. McCallen (pro hac vice)
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                                         Counsel to the Ad Hoc Group of Subrogation Claim Holders
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